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                                                                             American Airlines
     Eddieberto Martinez                                                     and
                                                                             John/Jane Doe 1-10
                                                                                                              Tarrant



      Aaron J. Freiwald, Esquire            1500 Walnut Street, 18th Floor
      Zachary S. Feinberg, Esquire          Philadelphia, PA 19102
      Freiwald Law, P.C.                    (215) 875-8000




                                                                                        X

                         X                                                                                              X




                        X




X




                              Discriminatory and negligent handling of special needs customer's wheelchair.

                                                                                                               X



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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM

EDDIEBERTO MARTINEZ                          :       CIVIL ACTION
                                             :
                   v.                        :
                                             :
AMERICAN AIRLINES                            :       NO.
          and                                :
John/Jane Doe 1-10                    :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time
of filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on
the reverse side of this form.) In the event that a defendant does not agree with the plaintiff
regarding said designation, that defendant shall, with its first appearance, submit to the clerk of
court and serve on the plaintiff and all other parties, a Case Management Track Designation
Form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus – Cases brought under 28 U.S.C. § 2241 through § 2255.                       ( )

(b) Social Security – Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                             ( )

(c) Arbitration – Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos – Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                      ( )

(e) Special Management – Cases that do not fall into tracks (a) through (d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                         ( )

(f) Standard Management – Cases that do not fall into any one of the other tracks.             (X)

        10/19/2021             Aaron J. Freiwald
Date                           Attorney-at-law                     Attorney for Plaintiffs

  (215) 875-8000                (215) 875-8575                      ajf@freiwaldlaw.com
Telephone                           FAX Number                         E-Mail Address
(Civ. 660) 10/02
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                       IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

 EDDIEBERTO MARTINEZ
 7701 Oxford Avenue
 Apartment B                                     CIVIL ACTION NO.
 Philadelphia, PA 19111

                Plaintiff
                                                 JURY TRIAL DEMANDED
        v.

 AMERICAN AIRLINES
 1 Skyview Drive
 Fort Worth, TX 76155

 and

 John/Jane Doe 1-10

                Defendants

                               CIVIL ACTION COMPLAINT

I.     INTRODUCTION

       This action stems from discriminatory, negligent, and outrageous behavior towards

Plaintiff Eddieberto Martinez by Defendant American Airlines and its employees, while he was a

paying customer about to board Defendant’s airline, which caused physical injuries and other

damages to Mr. Martinez. While about to board Defendant American Airline’s plane, Plaintiff

Mr. Martinez watched an American Airlines employee toss his specially-made, custom-fit

wheelchair down the ramp, as opposed to properly collapsing the wheelchair and safely loading

it into the airplane cargo. Mr. Martinez’s wheelchair was rendered inoperable by the actions of

Defendant. The replacement wheelchair American Airlines provided did not fit Plaintiff Mr.

Martinez’s body and caused a previously fully-healed pressure wound to reopen, causing Mr.

Martinez to require medical treatment, confinement, and significant pain and suffering.
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II.    PARTIES

       1.       Plaintiff Eddieberto Martinez is an adult citizen of the Commonwealth of

Pennsylvania, who, at all relevant times, resided at 7701 Oxford Avenue, Apartment B,

Philadelphia, Pennsylvania 19111.

       2.       Plaintiff Eddieberto Martinez suffers from paraplegia and can only move via

wheelchair.

       3.       Defendant American Airlines, Inc. (“American Airlines”) is a corporation or other

entity organized and existing under and by the virtue of the laws of the State of Texas with a

corporate address of 1 Skyview Drive, Fort Worth, Texas 76155.

       4.       At all relevant times, Defendant American Airlines operated as an airline carrier

providing transportation to its customers out of the Philadelphia Airport.

       5.       At all relevant times, Defendant American Airlines operated as a common carrier.

       6.       As a common carrier, Defendant American Airlines owes its passengers the

highest duty of care and diligence.

       7.       At all relevant times, Defendant American Airlines represented that it operates its

common carrier airlines services on a non-discriminatory basis and with the capacity to transport

customers with disabilities, such as Plaintiff Eddieberto Martinez.

       8.       Defendant Jane/John Doe 1-10 are American Airlines employees who worked for

American Airlines at the Philadelphia airport and were responsible for safely handling

customers’ luggage and assistive devices, such as wheelchairs, including Plaintiff Mr. Martinez’s

custom wheelchair.

       9.       At all relevant times, Defendant Jane/John Doe were agents and/or employees of

Defendant American Airlines.




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       10.     At all relevant times, Defendant American Airlines was responsible for the acts of

its agents and employees, including Defendants Jane/John Doe 1-10.

III.   JURISDICTION

       11.     This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332(a).

       12.     Specifically, Plaintiff is a resident of the Commonwealth of Pennsylvania.

       13.     Defendant American Airlines are incorporated and have their principal place of

business in the State of Texas.

       14.     The amount in controversy, because of the devastating injuries Plaintiff has

suffered, well exceeds $75,000, the federal threshold under 28 U.S.C. § 1332(a).

       15.     Venue is proper in the Eastern District of Pennsylvania pursuant to 28 U.S.C. §

1391(b) because all of the events or omissions giving rise to this claim occurred in this district.

IV.    FACTS

       16.     On April 24 2021, Plaintiff Eddieberto Martinez was boarding a plane in

Philadelphia operated by Defendant American Airlines to travel to Kansas City, Missouri.

       17.     Plaintiff Mr. Martinez had purchased a ticket for this airplane travel.

       18.     Plaintiff Mr. Martinez suffers from paraplegia and can only move around via

wheelchair.

       19.     Plaintiff Mr. Martinez possessed and utilized a specially-made, custom-fit

wheelchair, which had dimensions and cushions fit precisely for his stability, support, and

comfort.

       20.     Plaintiff Mr. Martinez’s paraplegia had never previously been an issue for him

while flying. In fact, Mr. Martinez traveled on an American Airlines plane at least three prior

times within the last year without incident.




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        21.    In each of these prior times that Plaintiff Mr. Martinez traveled on a Defendant

American Airlines plane, the American Airlines employee would breakdown Mr. Martinez’s

wheelchair, before carefully walking the wheelchair down a ramp to place it in the cargo storage

area. When Mr. Martinez arrived at his destination, his wheelchair would be returned to him in

proper working condition.

        22.    However, contrary to American Airlines policy, the American Airlines employee

responsible for safely storing Plaintiff Mr. Martinez’s wheelchair did not follow this same

procedure on April 24, 2021.

        23.    Instead, Plaintiff Mr. Martinez watched as the Defendant American Airlines

employee simply threw his wheelchair down a ramp, to then be loaded into storage by someone

else.

        24.    The Defendant American Airlines employee made no attempt to breakdown

Plaintiff Mr. Martinez’s wheelchair.

        25.    The Defendant American Airlines employee made no attempt to walk Plaintiff

Mr. Martinez’s wheelchair down the ramp, or otherwise take proper and due care to safeguard

the wheelchair.

        26.    The Defendant American Airlines employee made no attempt to safely and

securely store Plaintiff Mr. Martinez’s wheelchair in the cargo storage area.

        27.    Rather, the Defendant American Airlines employee carelessly and recklessly

threw the wheelchair down the ramp with no concern as to the maintaining the wheelchair or for

Mr. Martinez’s well-being.

        28.    Unsurprisingly, the impact of the wheelchair hitting the ground caused damage to

the wheelchair, which rendered the wheelchair inoperable.




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        29.     While it is shocking that Defendants damaged Mr. Martinez’s wheelchair in this

manner, Mr. Martinez is far from the only customer who has had his wheelchair damaged by

Defendant American Airlines.

        30.     According to the U.S. Department of Transportation’s Air Travel Consumer

Report, in 2020, American Airlines ranked 14 out of 16 (with 16 being the most wheelchairs

mishandled) airlines in terms of how many wheelchairs they mishandled. 1

        31.     According the Air Travel Consumer Report, in 2020, Defendant American

Airlines mishandled 1.73% of all wheelchairs and scooters, above the average of 1.30%.

        32.     In 2020, Defendant American Airlines performed worse than any operating

carrier that handled more than 7,000 wheelchairs, and significantly worse than other leading

airlines, such as Delta (0.66%), United (1.35%), JetBlue (1.39%), and Southwest (1.51%).

        33.     The 2020 results were merely a repeat of the 2019 results, in which Defendant

American Airlines again performed significantly worse than its competitors in this regard. In

2019, Defendant American Airlines mishandled 2.77% of all wheelchairs and scooters, above the

average of 1.54%, and worse than Delta (0.91%), United (1.57%), JetBlue (1.65%), and

Southwest (1.81%).




1
 This data is taken from the February 2021 Air Travel Consumer Report. This report is publicly available
at the following website: https://www.transportation.gov/sites/dot.gov/files/2021-
02/February_%202021%20ATCR.pdf


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       34.     The above statistics can be viewed in the following chart, taken from the February

2021 Air Travel Consumer Report. See Footnote 1, supra.




       35.     When Plaintiff Mr. Martinez arrived in Kansas City, Defendant American

Airlines provided him with a standard wheelchair as a replacement for his damaged, custom

wheelchair.

       36.     Plaintiff Mr. Martinez informed Defendant American Airlines that this standard

replacement wheelchair was inadequate to provide the level of support he required.

       37.     Defendant American Airlines then provided a new replacement wheelchair that

had a minimal amount of additional support and cushioning. This new replacement wheelchair

was still far below the standards of Plaintiff Mr. Martinez’s personal wheelchair.

       38.     Crucially, the new replacement wheelchair did not provide any support in the

location of Plaintiff Mr. Martinez’s recently healed wound, which was located on his lower back.

       39.     As such, over the next day, Plaintiff Mr. Martinez’s wound re-opened, causing

him significant pain and discomfort.




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        40.    As a result of the pain, discomfort, and mobility limitations, Plaintiff Mr.

Martinez was unable to fully participate in the barbering seminar that he travelled to Kansas City

to attend.

        41.    Upon returning to Philadelphia, Plaintiff Mr. Martinez sought treatment for his

wound opening at Moss Rehabilitation Center.

        42.    Prior to the April 24, 2021 flight, the wound had been closed for approximately

two months, after it had taken eight months to heal.

        43.    The providers at Moss Rehabilitation Center informed Plaintiff Mr. Martinez that

the wound would take several months to heal again.

        44.    Further, while Plaintiff Mr. Martinez’s wheelchair is being repaired, he has been

substantially limited in his mobility and often has been confined to his bed for several hours per

day.

        45.    As a result of Defendants’ negligent, reckless, and outrageous conduct, Plaintiff

Eddieberto Martinez was caused to suffer:

               a. physical injuries;

               b. increased risk of harm;

               c. past and future medical expenses;

               d. economic damages;

               e. loss of income;

               f. emotional distress;

               g. mental anguish;

               h. pain and suffering;

               i. loss of life’s pleasures; and




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                j. humiliation and embarrassment.

V.      CLAIMS

                                   COUNT ONE – NEGLIGENCE
                                     Plaintiff v. All Defendants

        46.     The preceding paragraphs are incorporated in full here as though set forth in their

entirety.

        47.     As a common carrier, Defendant American Airlines owed Plaintiff the highest

duty of care and diligence in transporting Plaintiff.

        48.     Defendant American Airlines acted through the conduct of its agents, servants,

employees, and ostensible agents, including Defendant John Doe.

        49.     Defendant American Airlines is liable for its own negligence and the negligence

of its agents, servants, employees, and ostensible agents.

        50.     Defendants’ negligence and outrageous conduct included the following:

                a. Failure to properly transport Plaintiff’s wheelchair safely into storage;

                b. Failure to disassemble Plaintiff’s wheelchair before bringing the wheelchair

                   into storage;

                c. Failure to walk Plaintiff’s wheelchair carefully and responsibly down the

                   ramp;

                d. Failure to take appropriate and reasonable care to ensure the safe storage and

                   transport of Plaintiff’s wheelchair;

                e. Failure to follow its own policies regarding wheelchair storage and

                   transportation;

                f. Failure to properly train its employees on safe handling of wheelchairs and

                   fnon-discriminatory practices;



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               g. Failure to enforce its own non-discriminatory policies; and

               h. Outrageously tossing Plaintiff’s wheelchair down the ramp.

       51.     As a result of Defendants’ negligence and outrageous conduct, Plaintiff was

caused to suffer the injuries set forth in this Complaint.

       WHEREFORE, Plaintiff Eddieberto Martinez demands judgment for compensatory and

punitive damages upon this Court of the Complaint against Defendants, individually, jointly

and/or severally, together with costs of suit, interest and attorney’s fees in excess of $150,000.00.




                                                       Respectfully submitted,

                                                       FREIWALD LAW, P.C.



                                               BY:     _________________________________
                                                       AARON J. FREIWALD, ESQUIRE
                                                       ZACHARY S. FEINBERG, ESQUIRE
Date: October 19, 2021




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